                         IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:11-cr-75

                                                      )
UNITED STATES OF AMERICA                              )
                                                      )
        v.                                            )               ORDER
                                                      )
(2) XIOMARA AMPARO                                    )
(3) JOSE de JESUS, aka Jose Ramos                     )
(4) DANIA RAMOS                                       )
(6) NELSON JIMENEZ                                    )
(7) MILDRED DePENA                                    )
                                                      )
        Defendants.                                   )


        THIS MATTER is before the court on the government’s motion for alternative victim

notification procedures pursuant to 18 U.S.C. § 3771(d)(2). (Doc No. 91).

        Based on information in the motion, and the entire record in this case, the Court finds

that the number of crime victims, as defined by 18 U.S.C. § 3771(e), makes it impracticable to

accord all of the crime victims the rights described in 18 U.S.C. § 3771(a). The Court further

finds that the government’s proposal in the motion is a reasonable procedure to give effect to §

3771.

        IT IS, THEREFORE, ORDERED that the government’s motion is GRANTED. As

soon as practicable, and sufficiently prior to the sentencing hearing, the government is

DIRECTED to issue a press release to the public providing, at least, the following information:

        • The name of the defendants, the case number, and the charges;

        • Notification that Puerto Rican residents may have been victimized by the illegal

        activities of the defendants;

        • All of the victim notification rights codified at 18 U.S.C. § 3771(a);




        Case 3:11-cr-00075-RJC          Document 94         Filed 08/23/11         Page 1 of 2
       • The contact information for the Victim-Witness Coordinator at the United States

       Attorney’s Office;

       • A description and explanation of the government’s Victim Notification System

       (VNS), and the means by which any victim could register and obtain current case

       information from the VNS website, www.notify.usdoj.gov, or from the VNS call center;

       and

       • The date, time, and location of the sentencing hearings.

       IT IS FURTHER ORDERED that the government shall make reasonable efforts to

ensure that the press release is distributed to media outlets in Puerto Rico. The government may

file a copy of the press release to complete the record in this case.

                                                  Signed: August 22, 2011




                                                  2


        Case 3:11-cr-00075-RJC           Document 94        Filed 08/23/11   Page 2 of 2
